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                                  EXHIBIT A

                  Notice of Confirmation of Rehabilitation Plan
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                       [English Translation for Reference Purposes Only]
                                                                                 October 20, 2021

 To whom it may concern:

                                                     Rehabilitation Debtor: MtGox Co., Ltd.
                                                     Rehabilitation Trustee: Nobuaki Kobayashi,
                                                     Attorney-at-law

                     Notice of Confirmation Order of Rehabilitation Plan

    The Rehabilitation Trustee is pleased to announce that (i) at a creditors’ meeting held today
 at the Tokyo District Court, the draft rehabilitation plan (the “Draft Rehabilitation Plan”) filed
 by the Rehabilitation Trustee with the Tokyo District Court on February 15, 2021, was approved
 by a large majority of rehabilitation creditors (i.e., approximately 99% of the voting
 rehabilitation creditors voted for the Draft Rehabilitation Plan, and approximately 83% of the
 total amount of voting rights was exercised in favor of the Draft Rehabilitation Plan; hereinafter,
 the Draft Rehabilitation Plan approved by the rehabilitation creditors is referred to as the
 “Rehabilitation Plan”), and (ii) on the same date, the Tokyo District Court made a
 confirmation order of the Rehabilitation Plan.
    The Rehabilitation Trustee would like to express sincere gratitude to all involved parties for
 their understanding and support, which led to the approval of the Draft Rehabilitation Plan by
 a large majority of rehabilitation creditors and the confirmation order of the Rehabilitation Plan.

    Depending on the situation, the confirmation order is expected to become final and binding
 in approximately one month from today. The Rehabilitation Trustee will make another
 announcement if the situation changes. The Rehabilitation Trustee will then make repayments
 to rehabilitation creditors holding allowed rehabilitation claims in accordance with the
 Rehabilitation Plan. An announcement will be made to rehabilitation creditors on the details
 of the specific timing, procedures, and amount of such repayments.

    After the confirmation order becomes final and binding, the Rehabilitation Trustee will
 request all the rehabilitation creditors to register their bank account information and other
 information on MtGox’s Online filing system (online system) (“the System”) in order for them
 to receive repayments. Accordingly, rehabilitation creditors unable to log in to the System
 (URL (1) below) may encounter difficulties in receiving repayments in accordance with
 the Rehabilitation Plan.

   Therefore, rehabilitation creditors who have not registered on the System or have
 forgotten their passwords and cannot log in to the System must obtain the Creditor Code
 required for initial registration/re-registration on the System by clicking on URL (2) below,
 and complete the initial registration/re-registration on the System by clicking on URL (3)
 below.
   However, please note that self-approved creditors with the creditor numbers beginning with
 Z2 are not eligible for initial registration on the System at this stage.

   (1)   the System Login Page:
         https://claims.mtgox.com/

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   (2)   the Online Request Page for the Creditor Code required for the initial registration/
         re-registration on the System:
         https://claims.mtgox.com/pre-signup

   (3)   the Initial Registration/Re-registration Page:
         https://claims.mtgox.com/signup

    For the steps on how to initially register/re-register on the System, please refer to the
 following URL (“How to register/re-register for Online System”):
   https://www.mtgox.com/img/pdf/20211006_000_announcement_en.pdf

    Please click on the URL below to access frequently asked questions (FAQ) regarding the
 initial registration/re-registration on the System. If the FAQ does not address your questions,
 please make inquiries via the inquiry form in the FAQ.
   https://claims.mtgox.com/faq

   Please note that, we may not be able to reply timely due to the large number of inquiries we
 may receive via the inquiry form.
   Please note that we cannot respond to direct inquiries or e-mail inquiries to the Rehabilitation
 Trustee’s office or the Rehabilitation Trustee.

                                                                                 End of document




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                                                            令和 3 年 10 月 20 日
   関係者各位

                                               再生債務者 株式会社ＭＴＧＯＸ
                                               再生管財人 弁護士 小 林 信 明

                              再生計画認可決定のお知らせ

    本日、東京地方裁判所において開催された債権者集会において、令和 3 年 2 月 15 日付で
   再生管財人が東京地方裁判所に提出した再生計画案（以下「本再生計画案」といいます。）
   が、大多数の債権者の皆様からのご賛同をいただいて可決されました（投票した債権者数の
   約 99%及び議決権総額の約 83%の賛成票をいただいております。以下、可決された本再生計
   画案を「本再生計画」といいます。    ）。また、これを受けて、同日付で同裁判所より本再生計
   画を認可する旨の決定がなされましたので、お知らせいたします。
    このような大多数の債権者の皆様からのご賛同による再生計画案の可決及び再生計画の
   認可決定に至りましたのも、関係者の皆様のご理解とご支援の賜物であり、心より御礼申し
   上げます。

    今後の予定といたしましては、状況により変わりますが、本再生計画の認可決定が、本日
   より約１か月程度で確定するものと考えております（状況が変わりましたら、改めてお知ら
   せいたします。）。その後、本再生計画に従って、確定再生債権を保有する債権者の皆様に対
   して弁済を実施いたしますが、弁済の具体的な時期、手続及び金額等の詳細につきましては、
   追って債権者の皆様にお知らせする予定です。

    再生管財人は、本再生計画の認可決定の確定後、債権者の皆様に再生債権届出システム
   （オンラインシステム）
             （以下「本システム」といいます。）を利用して弁済を受領するため
   の口座登録等の手続を行っていただくことを予定しております。本システム（下記①の URL）
   にログインできない場合には、本再生計画に従った弁済を受けるのに支障をきたすおそれ
   があります。
    そのため、本システムへの登録を行っておらず、又はパスワードを失念したことにより
   本システムへログインできない債権者の皆様におかれましては、速やかに下記②の URL か
   ら初期登録又は再登録のために必要となる債権者コードを取得の上、下記③の URL にて本
   システムへの初期登録又は再登録をしていただきますようお願いいたします。
    ただし、債権者番号が Z2-から始まる自認債権者の方は、現段階では本システムに初期登
   録できる対象者ではありませんので、ご注意ください

     ①   本システムのログインページの URL：
         https://claims.mtgox.com/

     ②   初期登録/再登録に必要となる債権者コードの申請ページの URL：
         https://claims.mtgox.com/pre-signup

     ③   初期登録/再登録のページの URL：
         https://claims.mtgox.com/signup

    本システムへの初期登録/再登録の具体的な方法については、下記 URL のご案内（「オンラ
   インシステムに初期登録/再登録するための方法」）をご参照ください。
    http://www.mtgox.com/img/pdf/20211006_000_announcement_ja.pdf

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     本システムへの初期登録又は再登録に関してご不明点がある場合には、下記 URL のよく
   あるご質問（FAQ）をご参照ください。FAQ によってもご不明点が解消されない場合には、
   FAQ 内に設置されているお問い合わせフォームよりお問い合わせください。
     https://claims.mtgox.com/faq

    なお、お問い合わせフォームからは多数の問合せを受領しているため、返信がタイムリー
   になされない可能性があることにつき、予めご了承ください。
    再生管財人の事務所への直接のお問い合わせ、E メールによるお問い合わせ等は対応いた
   しかねますので、予めご了承ください。

                                                                       以上




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